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16                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
17                              SAN FRANCISCO / OAKLAND DIVISION
18

19   ANDREW STEINFELD and WALTER                     Case No. 3:12-cv-01118-JSW
     BRADLEY on behalf of themselves and all
20   others similarly situated,                      JOINT REPORT REGARDING
21                                                   COMPLETION OF DISTRIBUTION OF
                        Plaintiffs,                  SETTLEMENT FUNDS TO CLASS AND
22                                                   APPROVED CY PRES RECIPIENT
                 v.
23                                                   CLASS ACTION
     DISCOVER FINANCIAL SERVICES, DFS
     SERVICES, LLC, and DISCOVER BANK,
24
                        Defendants.
25

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28
     1289935.2


     LA 51972801
 1               Plaintiffs Andrew Steinfeld and Walter Bradley (“Plaintiffs”), on behalf of themselves and
 2   the Settlement Class Members, and Defendants Discover Financial Services, DFS Services, LLC,
 3   and Discover Bank (“Discover,” together with Plaintiffs, collectively, the “Parties”), respectfully
 4   submit this report to inform the Court that the Parties have completed administering the class
 5   action Settlement in the above-entitled action and have complied with all requirements set forth in
 6   (1) the Parties’ Court-approved Settlement Agreement and Release (Dkt. No. 49 at Ex. B); (2) the
 7   Parties’ Court-approved First Amendment to Settlement Agreement and Release (Dkt. No. 55-1);
 8   (3) the Court’s Order Granting Motion for Preliminary Approval (“Preliminary Approval Order”)
 9   (Dkt. No. 57); (4) the Court’s Revised Order Preliminarily Approving Class Action Settlement
10   (“Revised Preliminary Approval Order”) (Dkt. No. 59); (5) the Court’s Order Granting Motion
11   for Final Approval (Dkt. No. 97); and (6) the Judgment (Dkt. No. 100).1
12               This case involved Plaintiffs’ allegations that Defendants called Plaintiffs and Class
13   Members on their cell phones through the use of automatic telephone dialing systems and/or
14   using an artificial or prerecorded voice without their prior express consent, in violation of the
15   Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227(b)(1)(A). Defendants denied
16   these allegations and maintained that they did not violate any laws or otherwise act improperly.
17               As the Court is aware, the Settlement was reached only after three full-day mediation
18   sessions before the Honorable Carl West (Ret.) of JAMS and a mediator’s proposal. The
19   Settlement provided for direct monetary relief to Class Members who made timely and valid
20   claims in the form of a cash award or a credit against the balance of a Discover credit card. The
21   Settlement also allowed Class Members to stop any unwanted calls to their cell phones by
22   submitting a simple, one-page Revocation Request.
23               Promptly upon finality of the Settlement, the Parties undertook to implement its terms
24   expeditiously and efficiently. A key focus of their work, and that of the Court-appointed
25   settlement administrator, was to ensure that all Settlement funds went to the Settlement Class
26   Members and to minimize funds that were not deliverable. To that end, all Settlement Class
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         Capitalized terms are defined in the Settlement Agreement, as amended, unless otherwise indicated.
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                                                             -1-               JOINT REPORT REGARDING COMPLETION OF
     1289935.2                                                                      DISTRIBUTION OF SETTLEMENT FUNDS
                                                                                                      3:12-CV-01118-JSW


     LA 51972801
 1   Members who submitted valid and timely Claim Forms (“Valid Claimants”) received a
 2   Settlement Award in the form of a settlement check or a Credit Award on or before September 9,
 3   2014. Ex. A (Carameros Decl.) ¶ 2; Ex. B (Thompson Decl.) ¶ 3. The overwhelming majority of
 4   the settlement checks distributed to Valid Claimants were cashed. See id. ¶ 3. Specifically, of the
 5   87,274 checks initially distributed to Valid Claimants, 83,706 were cashed for a total amount of
 6   $4,075,645.14. Id. Pursuant to the Settlement Agreement and the Court’s Orders, the small
 7   remainder of uncashed checks not used to defray notice and settlement administration costs—
 8   totaling $227,016.18—has been delivered as credits to all Valid Claimants who had a Discover
 9   credit card account where a Credit Award could be paid. Id. ¶ 4; see also Ex. C (Smith Decl.) ¶ 3.
10   Per the Settlement Agreement and the Court’s Orders, the funds remaining after the second
11   distribution of Credit Awards—totaling $4,513.23—were distributed cy pres to Equal Justice
12   Works. Ex A (Carameros Decl.) ¶ 5.
13               With distribution of all Settlement funds to the Class and the remainder cy pres to Equal
14   Justice Works, all Settlement terms have been fully implemented and work on the Settlement is
15   now complete.
16               The parties stand ready to answer any questions or provide any additional information or
17   reporting the Court desires.
18   Dated: February 12, 2016                    By: /s/ Daniel M. Hutchinson
                                                        Daniel M. Hutchinson
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                                                       -2-            JOINT REPORT REGARDING COMPLETION OF
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                                By: /s/ Julia B. Strickland
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24                              DFS Services, LLC; and Discover Bank

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                                      -3-            JOINT REPORT REGARDING COMPLETION OF
     1289935.2                                            DISTRIBUTION OF SETTLEMENT FUNDS
                                                                            3:12-CV-01118-JSW


     LA 51972801
 1                                              ATTESTATION
 2               I, Daniel M. Hutchinson, am the ECF user whose identification and password are being
 3   used to file this Stipulation. I hereby attest that Julia B. Strickland has concurred in this filing.
 4
                                                     /s/ Daniel M. Hutchinson
 5                                                       Daniel M. Hutchinson
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                                                      -4-             JOINT REPORT REGARDING COMPLETION OF
     1289935.2                                                             DISTRIBUTION OF SETTLEMENT FUNDS
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